     Case 1:24-md-03119-MLG-LF            Document 87       Filed 01/13/25      Page 1 of 7




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO



       In re: Shale Oil Antitrust Litigation            Case No. 1:24-md-03119-MLG-LF
                                                        Judge Matthew L. Garcia
       This Document Relates to:

       ALL ACTIONS



  JOINT NOTICE OF DISPUTE RE: DEADLINE FOR DEFENDANTS TO SERVE
RESPONSES AND OBJECTIONS TO PLAINTIFFS’ EARLY DISCOVERY REQUESTS
                  FOR GOVERNMENT PRODUCTIONS

       Plaintiffs and Defendants jointly submit this Notice respectfully requesting that the Court

resolve a dispute regarding when Defendants are required to serve responses and objections to

Requests for Production, seeking documents that Defendants previously produced to government

regulators. Plaintiffs’ position is that—based on the Court’s comments made at the initial hearing

and in the Initial Scheduling Order (ECF No. 82)—Defendants are required to serve responses and

objections at this time. Defendants’ position is that—pursuant to the Court’s Initial Scheduling

Order—their responses and objections are not due unless and until 30 days after the Court denies

their anticipated motions to dismiss.

       On October 18, 2024, the parties submitted to the Court their Joint Status Report and

Provisional Discovery Plan, stipulating as follows regarding the “Timing to Issue and Respond to

Request[s] for Production”: “The parties agree that Requests for Production may be served in

advance of any motion to dismiss opinion, but will only be deemed served on [the] date the motion

to dismiss is denied.” (ECF No. 60 at 3.) Separately, Plaintiffs sought to include in the schedule

a date by which Defendants would produce all non-duplicative documents they had previously

produced to the FTC, DOJ, and/or U.S. Congressional committees “relating to recent merger
      Case 1:24-md-03119-MLG-LF                   Document 87           Filed 01/13/25         Page 2 of 7




inquiries and/or allegations of collusion identified in the FTC’s complaints directed to

Chevron/Hess and Exxon/Pioneer.” (Id. at 4.) At this point, Plaintiffs sought production of these

documents informally; they had not served requests for production. Defendants objected, and

Plaintiffs thereafter sought an order from the Court requiring production of the documents within

42 days of the Court’s order appointing interim co-lead class counsel. (See ECF No. 60-4, Ex. D

to the Joint Status Report and Provisional Discovery Plan at 2-11.)

         On November 6, 2024, at the initial conference, the Court heard the parties on this dispute

and indicated that it would deny Plaintiffs’ request that Defendants be ordered as part of the case

schedule to “produce the document productions they made to the FTC, DOJ and/or the U.S.

Congress.” (Id. at 2.) The Court also stated that it was “not likely to make the defendants produce

those documents before receiving a formal discovery request.” (Initial Conference Transcript at

57:13-68:11.)

         On November 18, 2024, Plaintiffs served formal requests for production, seeking certain

document productions made to government regulators, including the specific documents cited in

and redacted from the FTC’s complaints. See Exhibits A, B (Exemplars of Plaintiffs’ Requests for

Production).1 On December 13, 2024, Defendants reached out to Plaintiffs to confirm that the

parties’ stipulation on timing of service for requests for production applied to Plaintiffs’ November

18 requests. Plaintiffs explained that, in light of the Court’s guidance, they viewed the requests as

formally served with responses due by December 18, 2024.2 Defendants said that they viewed as

controlling the Fact Discovery Schedule set out in the Joint Status Report and Provisional



1
         Plaintiffs have included as exemplars two sets of RFPs, to Defendants Pioneer Natural Resources and John
Hess. Both are representative of the RFPs served on the other corporate and individual Defendants, respectively. No
corporate Defendant received more Requests than Pioneer; several corporate Defendants received less.
2
         The parties agree that no Defendant waived any objection to Plaintiffs’ requests for production by not
serving responses or objections on or before December 18, 2024.


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     Case 1:24-md-03119-MLG-LF             Document 87        Filed 01/13/25      Page 3 of 7




Discovery Plan, which provides that “Responses and objections to [Requests for Production] that

were served before [any Motion to Dismiss] decision (‘initial RFPs’)” are not due until “30 Days

After MTD Decision (if denied).” (ECF No. 60 at 6.)

       On December 20, 2024, the Court issued the Initial Scheduling Order. “[T]he Court

denie[d] the plaintiffs’ request” for “‘all non-duplicative document productions [defendants] made

to the FTC and DOJ, and the U.S. Congress,’” stating that “the plaintiffs may seek discovery of

these documents through properly submitted requests for production and subject to the defendants’

objections.” (ECF No. 82 at 3 (quoting ECF No. 60-4 at 4).) The Court also ordered a schedule

providing that “[r]esponses and objections to requests for production (RFPs) served prior to [the]

Court’s order ruling on MTD” are due “30 days after Court rules on MTD.” (Id. at 2.) As a result,

Defendants’ understanding is that their responses and objections to Plaintiffs’ early requests for

production are not due until 30 days after the Court rules on Defendants’ anticipated motions to

dismiss.

       Plaintiffs, on the other hand, understood the Court to suggest that Plaintiffs should serve

their limited requests for production and meet and confer on the scope of the production, now,

bringing any dispute to the Court after that process was completed. (See Initial Conference

Transcript, at 61:24-62:4 (The Court: “isn’t the first request for production going to be: Give us

all of these documents. You’re going to object. And the first issue at our status conference is

going to be this very issue? I’m just trying to head off and obviate the need to have this discussion

somewhere down the road.”).)

       Accordingly, the parties respectfully request that the Court resolve their dispute regarding

whether Defendants are required to serve responses and objections to Plaintiffs’ document requests




                                                 3
     Case 1:24-md-03119-MLG-LF            Document 87         Filed 01/13/25      Page 4 of 7




at this time, or if Defendants only need to do so if the Court denies their anticipated motions to

dismiss.

Dated: January 13, 2025

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                                                4
    Case 1:24-md-03119-MLG-LF           Document 87       Filed 01/13/25    Page 5 of 7




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                                             5
    Case 1:24-md-03119-MLG-LF           Document 87        Filed 01/13/25       Page 6 of 7




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                                             6
    Case 1:24-md-03119-MLG-LF        Document 87      Filed 01/13/25   Page 7 of 7




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                                         7
